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UNITED STATES DISTRICT COURT ' . _ . j _|
DISTRICT OF MAINE '- - n _

UNITED STATES OF AMERICA

)

)
v. ) Criminal No. l6-l68:pl_$_H____

) _-H-. .
CHRISTOPHER HUTCHINSON )

AGREEM_ENT TO PLEAD GUILTY
§WITH BINDING AGREEMENTS AND APPEAL WAIVER[

The United States of America, by and through Halsey B. Frank, United States Attomey
for the District of Maine, and Christopher Hutchinson (hereinat’ter “Defendant”), acting for
himself and through his counsel, Michael Turndorf, Esquire, enter into the following Agreement
based upon the promises and understandings set forth below.

l. Guilt_v Plea/Dismissal of Counts. Defendant agrees to plead guilty to Counts 1
and 2 of the lndictment herein pursuant to Rule 11 of the Federal Rules of Criminal Procedure
(Fed. R. Crim. P.). Counts 1 and 2 charge Defendant with Seaman’s Manslaughter, in violation
of 18 U.s.C. § 1115.

2. Sentencinngenalties. Defendant agrees to be sentenced on the charges described
above. Defendant understands that the penalties that are applicable to the charges described
above are as follows:

A. A maximum prison term of not more than 10 years in prison;

B. A maximum fine of $250,000;

C. A mandatory special assessment of $100.00, if Defendant is non-indigent,
for each count of conviction, or $200.00, which Defendant agrees to pay at

or before the time that he enters a guilty plea; and

D. A term of supervised release of not more than 3 years. Defendant
understands that his failure to comply with any of the conditions of

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supervised release may result in revocation of supervised release,
requiring Defendant to serve up to 2 additional years in prison for any
such revocation of supervised release pursuant to 18 U.S.C. § 3583.
In addition to the other penalties provided by law, the Court may also order Defendant to pay
restitution to the victim or victims of the offense.

3. Agreements Regarding Truthfulness and Future Misconduct. Defendant admits as
true the facts set forth in the Government’s Prosecution Version of events, which is attached to,
and made a part of, this Agreement. Defendant promises that he will acknowledge the truth of
those facts during the Rule ll proceeding held in this case and that he will not thereafter contest
or deny such facts. Defendant fin'ther agrees that he will not engage in new criminal conduct or
in acts giving rise to an adjustment for obstruction of justice under U.S.S.G. § 3Cl.l, at any time
before he is sentenced in this case.

4. Binding Ag;eement Regarding Sentencing. The parties agree, pursuant to Rule
ll(c)(l)(C), that a sentence of 48 months incarceration, followed by 3 years of supervised
release, is the appropriate disposition of this case. The parties further agree that the Defendant
should receive credit against this sentence for time he has served in pretrial detention. Should
the Court reject this recommendation, the Defendant shall be permitted to withdraw his guilty
plea and either party shall be permitted to withdraw from this Agreement.

5. Appeal Waivers. Defendant is aware that Title 18, United States Codc, Section
3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant

waives the right to appeal the following:

A. Defendant’s guilty plea and any other aspect of Defendant’s conviction in
the above-captioned case; and

B. A sentence of imprisonment that does not exceed 48 months.

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Defendant’s waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review.

6. Conseguences of Breach. If Defendant violates or fails to perform any
obligations under this Agreement (“a breach” , the United States will be released from its
obligations hereunder and may fully prosecute Defendant on all criminal charges that can be
brought against Defendant. With respect to such a prosecution:

A. The United States may use any statement that Defendant made pursuant to
this Agreement, including statements made during plea discussions and
plea colloquies, and the fact that Defendant pleaded guilty, and Defendant
hereby waives any claim under Rule 410 of the Federal Rules of Evidence
or Rule ll(i) of the Federal Rules of Criminal Procedure that such
statements and guilty plea are inadmissible

B. Defendant waives any and all defenses based on the statute of limitations
with respect to any such prosecution that is not time-barred on the date
that this Agreement is signed by the parties.

If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the United States shall have the burden to establish
Defendant’s breach by a preponderance of the evidence.

7. Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and
all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the
execution of this Agreement and continuing thereafter through and including the date upon
which sentence is imposed. 111 the event that the Court determines that Defendant has breached
this Agreement, as set forth in Paragraph 6 of this Agreement, then the waiver described in this

Paragraph shall continue through and including the date on which the Court determines that Such

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a breach has occurred. Defendant expressly consents to the entry of an Order by the Court
excluding such periods of time from such consideration

8. Forfeiture. Defendant agrees to waive any claim to, and assist the United States
in effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the
United States under any law of the United States.

9. Validitv of Other Agreements; Signature. This Agreement supersedes any prior
understandings, promises, or conditions between this Offlce and Defendant. However, in the
event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea
entered hereunder, and the Court determines that Defendant has not breached this Agreernent,
then any Lproffer agreement between the parties shall remain in effect. No additional
understandings, promises, or conditions will be entered into unless in writing and signed by all
parties. The signature of Defendant in the space designated signifies his full and voluntary
acceptance of this Agreement.

I have read this Agreement and have carefully reviewed every part of it. I understand it
and I have voluntarily agreed to it.

ntsan ataee@¢WaiM--

Tristopher Hutchinson, Defendant

l am legal counsel for Christopher Hutchinson. l have carefully reviewed every part of
this Agreement with Christopher Hutchinson. To my knowledge, `stopher Hutchinson’s
decision to enter into this Agreement is an informed and volunt one.

Date: 0‘§20&§30/8 @F
Michael T dorf, Esquire

Attorne r Defendant

  

 

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FOR THE UNITED STATES:

Date: El[l4 l log

Concur:

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Halsey B. Frank v
United States Attorney

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Super}ri ryAssistant . .Attor"ney'

  
   

